Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF TENNESSEE

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     JETHRO                                                           JENNIFER
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        SHELDON                                                          LEIGH
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   THURSTON                                                         THURSTON
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years JESSIE THURSTON
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-0803                                                      xxx-xx-8042
     Individual Taxpayer
     Identification number
     (ITIN)




               Case 3:20-bk-00625 Voluntary
Official Form 101
                                    Doc 1Petition
                                             Filed    01/31/20 Entered 01/31/20 08:03:48
                                                  for Individuals Filing for Bankruptcy
                                                                                                                                        Desc Main        page 1
                                            Document              Page 1 of 75
Debtor 1   JETHRO SHELDON THURSTON
Debtor 2   JENNIFER LEIGH THURSTON                                                                   Case number (if known)




                                 About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                   I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                             Business name(s)
     doing business as names

                                 EINs                                                         EINs




5.   Where you live                                                                           If Debtor 2 lives at a different address:

                                 5187 MURFREESBORO ROAD
                                 Lebanon, TN 37090
                                 Number, Street, City, State & ZIP Code                       Number, Street, City, State & ZIP Code

                                 Wilson
                                 County                                                       County

                                 If your mailing address is different from the one            If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any    in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                      mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code             Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                   Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any              have lived in this district longer than in any other
                                        other district.                                               district.

                                        I have another reason.                                        I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)




              Case 3:20-bk-00625 Voluntary
Official Form 101
                                   Doc 1Petition
                                            Filed    01/31/20 Entered 01/31/20 08:03:48
                                                 for Individuals Filing for Bankruptcy
                                                                                                                                  Desc Main            page 2
                                           Document              Page 2 of 75
Debtor 1    JETHRO SHELDON THURSTON
Debtor 2    JENNIFER LEIGH THURSTON                                                                       Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          MIDDLE DISTRICT OF
                                                          TN (CH 7 DISCH
                                              District    1/7/2015)                     When     3/14/14                Case number      14-02127
                                                          OH SOUTHERN
                                                          BANKRUPTCY COURT
                                                          (CH 7 DISCH
                                              District    1/10/2006)       When                  9/16/05                Case number      05-67075
                                              District    See Attachment                When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




              Case 3:20-bk-00625 Voluntary
Official Form 101
                                   Doc 1Petition
                                            Filed    01/31/20 Entered 01/31/20 08:03:48
                                                 for Individuals Filing for Bankruptcy
                                                                                                                                      Desc Main           page 3
                                           Document              Page 3 of 75
Debtor 1    JETHRO SHELDON THURSTON
Debtor 2    JENNIFER LEIGH THURSTON                                                                        Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




              Case 3:20-bk-00625 Voluntary
Official Form 101
                                   Doc 1Petition
                                            Filed    01/31/20 Entered 01/31/20 08:03:48
                                                 for Individuals Filing for Bankruptcy
                                                                                                                                    Desc Main          page 4
                                           Document              Page 4 of 75
Debtor 1    JETHRO SHELDON THURSTON
Debtor 2    JENNIFER LEIGH THURSTON                                                                    Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




              Case 3:20-bk-00625 Voluntary
Official Form 101
                                   Doc 1Petition
                                            Filed    01/31/20 Entered 01/31/20 08:03:48
                                                 for Individuals Filing for Bankruptcy
                                                                                                                                    Desc Main            page 5
                                           Document              Page 5 of 75
Debtor 1    JETHRO SHELDON THURSTON
Debtor 2    JENNIFER LEIGH THURSTON                                                                       Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ JETHRO SHELDON THURSTON                                       /s/ JENNIFER LEIGH THURSTON
                                 JETHRO SHELDON THURSTON                                           JENNIFER LEIGH THURSTON
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     January 31, 2020                                  Executed on     January 31, 2020
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




              Case 3:20-bk-00625 Voluntary
Official Form 101
                                   Doc 1Petition
                                            Filed    01/31/20 Entered 01/31/20 08:03:48
                                                 for Individuals Filing for Bankruptcy
                                                                                                                                         Desc Main          page 6
                                           Document              Page 6 of 75
Debtor 1   JETHRO SHELDON THURSTON
Debtor 2   JENNIFER LEIGH THURSTON                                                                        Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ SCOTT D. WILSON                                                Date         January 31, 2020
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                SCOTT D. WILSON
                                Printed name

                                Wilson Legal Services
                                Firm name

                                405 1/2 A 31st Ave N
                                Nashville, TN 37209
                                Number, Street, City, State & ZIP Code

                                Contact phone     615-297-2400                               Email address         wilsonlgl@hotmail.com
                                20339 TN
                                Bar number & State




              Case 3:20-bk-00625 Voluntary
Official Form 101
                                   Doc 1Petition
                                            Filed    01/31/20 Entered 01/31/20 08:03:48
                                                 for Individuals Filing for Bankruptcy
                                                                                                                                     Desc Main           page 7
                                           Document              Page 7 of 75
Debtor 1         JETHRO SHELDON THURSTON
Debtor 2         JENNIFER LEIGH THURSTON                                            Case number (if known)


Fill in this information to identify your case:

Debtor 1                 JETHRO SHELDON THURSTON
                         First Name               Middle Name      Last Name

Debtor 2                 JENNIFER LEIGH THURSTON
(Spouse if, filing)      First Name               Middle Name      Last Name


United States Bankruptcy Court for the:    MIDDLE DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                   Check if this is an
                                                                                                             amended filing



                                                     FORM 101. VOLUNTARY PETITION
                                                   Prior Bankruptcy Cases Filed Attachment

District                                                        Case Number            Date Filed
MIDDLE DISTRICT OF TN (CH 7 DISCH 1/7/2015)                     14-02127                3/14/14
OH SOUTHERN BANKRUPTCY COURT (CH 7 DISCH                        05-67075                9/16/05
1/10/2006)
OH SOUTHERN BANKRUPTCY COURT (CH 7 DISCH                        99-50447                1/22/99
6/23/1999)




Official Form 101
                      Case 3:20-bk-00625 Voluntary
                                           Doc 1Petition
                                                    Filed    01/31/20 Entered 01/31/20 08:03:48
                                                         for Individuals Filing for Bankruptcy
                                                                                                                  Desc Main        page 8
                                                   Document              Page 8 of 75
 Fill in this information to identify your case:

 Debtor 1                   JETHRO SHELDON THURSTON
                            First Name                           Middle Name                          Last Name

 Debtor 2                   JENNIFER LEIGH THURSTON
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  MIDDLE DISTRICT OF TENNESSEE

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             120,250.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             120,250.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              20,671.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                9,210.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             237,883.04


                                                                                                                                     Your total liabilities $               267,764.04


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                7,945.56

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,604.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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               Case 3:20-bk-00625                          Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                              Desc Main
                                                                           Document     Page 9 of 75
 Debtor 1      JETHRO SHELDON THURSTON
 Debtor 2      JENNIFER LEIGH THURSTON                                                    Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $            8,458.85


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              9,210.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            183,892.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            193,102.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                          Desc Main
                                                                     Document      Page 10 of 75
 Fill in this information to identify your case and this filing:

 Debtor 1                   JETHRO SHELDON THURSTON
                            First Name                      Middle Name                       Last Name

 Debtor 2                   JENNIFER LEIGH THURSTON
 (Spouse, if filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF TENNESSEE

 Case number                                                                                                                                    Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1      Make:       DODGE                                   Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      DART                                          Debtor 1 only                                Creditors Who Have Claims Secured by Property.
           Year:       2014                                          Debtor 2 only
                                                                                                                  Current value of the      Current value of the
           Approximate mileage:                                      Debtor 1 and Debtor 2 only                   entire property?          portion you own?
           Other information:                                        At least one of the debtors and another


                                                                     Check if this is community property                  $11,500.00                  $11,500.00
                                                                     (see instructions)



  3.2      Make:       CHRYSLER                                Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      TOWN & COUNTRY                                Debtor 1 only                                Creditors Who Have Claims Secured by Property.
           Year:       2006                                          Debtor 2 only
                                                                                                                  Current value of the      Current value of the
           Approximate mileage:                                      Debtor 1 and Debtor 2 only                   entire property?          portion you own?
           Other information:                                        At least one of the debtors and another


                                                                     Check if this is community property                   $2,500.00                    $2,500.00
                                                                     (see instructions)




Official Form 106A/B                                                         Schedule A/B: Property                                                           page 1
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               Case 3:20-bk-00625                     Doc 1            Filed 01/31/20 Entered 01/31/20 08:03:48                          Desc Main
                                                                      Document      Page 11 of 75
 Debtor 1        JETHRO SHELDON THURSTON
 Debtor 2        JENNIFER LEIGH THURSTON                                                                            Case number (if known)


  3.3    Make:       CHRYSLER                                  Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      300                                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2006                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $4,500.00                  $4,500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $18,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    LR $100 2 BR $700 STOVE $100 WASHER/DRYER $150 MISC
                                    HOUSEHOLD GOODS $250 LAWNMOWER $100                                                                                             $1,400.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    2 TELEVISIONS $200 CELL PHONES $100 COMPUTER $100 GAME
                                    SYSTEMS $200                                                                                                                      $600.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....


Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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              Case 3:20-bk-00625                      Doc 1            Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                      Document      Page 12 of 75
 Debtor 1          JETHRO SHELDON THURSTON
 Debtor 2          JENNIFER LEIGH THURSTON                                                                                    Case number (if known)


                                            REMINGTON SHOTGUN                                                                                                         $150.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            CLOTHING                                                                                                                $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            MISC JEWELRY                                                                                                              $500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            CAT                                                                                                                           $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $3,650.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       CHECKING                                REGIONS BANK                                                        $400.00



                                              17.2.       CHECKING                                REGIONS BANK                                                            $0.00




Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 3
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             Case 3:20-bk-00625                                    Doc 1             Filed 01/31/20 Entered 01/31/20 08:03:48                          Desc Main
                                                                                    Document      Page 13 of 75
 Debtor 1        JETHRO SHELDON THURSTON
 Debtor 2        JENNIFER LEIGH THURSTON                                                                 Case number (if known)

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                        % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                      401(K)                                THROUGH CRACKER BARREL                                                  $700.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:


                                      RENT                                  SECURITY DEPOSIT WITH LANDLORD                                        $1,000.00


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.


Official Form 106A/B                                                   Schedule A/B: Property                                                           page 4
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             Case 3:20-bk-00625                       Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                       Desc Main
                                                                     Document      Page 14 of 75
 Debtor 1        JETHRO SHELDON THURSTON
 Debtor 2        JENNIFER LEIGH THURSTON                                                                                         Case number (if known)

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                             Surrender or refund
                                                                                                                                                               value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
        Yes. Describe each claim.........

                                                          PENDING SEXUAL
                                                          HARRASSMENT/DISCRIMINATION/WRONGFUL
                                                          TERMINATION LAWSUIT AGAINST CORE CIVIC. DEBTOR IS
                                                          REPRESENTED BY CHRISTOPHER BOIANO (615) 991-7117                                                               $96,000.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................         $98,100.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.




Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 5
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             Case 3:20-bk-00625                            Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                            Desc Main
                                                                          Document      Page 15 of 75
 Debtor 1         JETHRO SHELDON THURSTON
 Debtor 2         JENNIFER LEIGH THURSTON                                                                                               Case number (if known)

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                       $0.00
 56. Part 2: Total vehicles, line 5                                                                           $18,500.00
 57. Part 3: Total personal and household items, line 15                                                       $3,650.00
 58. Part 4: Total financial assets, line 36                                                                  $98,100.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $120,250.00               Copy personal property total          $120,250.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $120,250.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 6
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              Case 3:20-bk-00625                              Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                               Desc Main
                                                                             Document      Page 16 of 75
 Fill in this information to identify your case:

 Debtor 1                 JETHRO SHELDON THURSTON
                          First Name                        Middle Name                 Last Name

 Debtor 2                 JENNIFER LEIGH THURSTON
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF TENNESSEE

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2006 CHRYSLER TOWN & COUNTRY                                     $2,500.00                                 $2,500.00     Tenn. Code Ann. § 26-2-103
      Line from Schedule A/B: 3.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      LR $100 2 BR $700 STOVE $100                                     $1,400.00                                 $1,400.00     Tenn. Code Ann. § 26-2-103
      WASHER/DRYER $150 MISC
      HOUSEHOLD GOODS $250                                                                 100% of fair market value, up to
      LAWNMOWER $100                                                                       any applicable statutory limit
      Line from Schedule A/B: 6.1

      2 TELEVISIONS $200 CELL PHONES                                      $600.00                                  $600.00     Tenn. Code Ann. § 26-2-103
      $100 COMPUTER $100 GAME
      SYSTEMS $200                                                                         100% of fair market value, up to
      Line from Schedule A/B: 7.1                                                          any applicable statutory limit

      REMINGTON SHOTGUN                                                   $150.00                                  $150.00     Tenn. Code Ann. § 26-2-103
      Line from Schedule A/B: 10.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      CLOTHING                                                         $1,000.00                                 $1,000.00     Tenn. Code Ann. § 26-2-104
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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               Case 3:20-bk-00625                     Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                            Desc Main
                                                                     Document      Page 17 of 75
 Debtor 1    JETHRO SHELDON THURSTON
 Debtor 2    JENNIFER LEIGH THURSTON                                                                     Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     MISC JEWELRY                                                        $500.00                                   $500.00        Tenn. Code Ann. § 26-2-103
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     CHECKING: REGIONS BANK                                              $400.00                                   $400.00        Tenn. Code Ann. § 26-2-103
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(K): THROUGH CRACKER                                             $700.00                                   $700.00        Tenn. Code Ann. § 26-2-105(a)
     BARREL
     Line from Schedule A/B: 21.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     RENT: SECURITY DEPOSIT WITH                                       $1,000.00                                 $1,000.00        Tenn. Code Ann. § 26-2-103
     LANDLORD
     Line from Schedule A/B: 22.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     PENDING SEXUAL                                                   $96,000.00                                 $6,800.00        Tenn. Code Ann. § 26-2-103
     HARRASSMENT/DISCRIMINATION/W
     RONGFUL TERMINATION LAWSUIT                                                           100% of fair market value, up to
     AGAINST CORE CIVIC. DEBTOR IS                                                         any applicable statutory limit
     REPRESENTED BY CHRISTOPHER
     BOIANO (615) 991-7117
     Line from Schedule A/B: 33.1


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                               Desc Main
                                                                     Document      Page 18 of 75
 Fill in this information to identify your case:

 Debtor 1                   JETHRO SHELDON THURSTON
                            First Name                      Middle Name                      Last Name

 Debtor 2                   JENNIFER LEIGH THURSTON
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF TENNESSEE

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     BRIDGECREST                              Describe the property that secures the claim:                   $6,369.00                $4,500.00           $1,869.00
         Creditor's Name                          2006 CHRYSLER 300

         7300 E HAMPTON
                                                  As of the date you file, the claim is: Check all that
         AVENUE, STE 101                          apply.
         Mesa, AZ 85209                               Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          2014                      Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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               Case 3:20-bk-00625                     Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                    Desc Main
                                                                     Document      Page 19 of 75
 Debtor 1 JETHRO SHELDON THURSTON                                                                             Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 JENNIFER LEIGH THURSTON
               First Name                  Middle Name                      Last Name


         BRIDGESCREST
 2.2                                                                                                                 $14,302.00           $11,500.00       $2,802.00
         ACCEPTANCE CORP                            Describe the property that secures the claim:
         Creditor's Name                            2014 DODGE DART

         7300 E HAMPTON
                                                    As of the date you file, the claim is: Check all that
         AVENUE, STE 101                            apply.
         Mesa, AZ 85209                                  Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2/2017                      Last 4 digits of account number




   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $20,671.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $20,671.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
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             Case 3:20-bk-00625                          Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                               Desc Main
                                                                        Document      Page 20 of 75
 Fill in this information to identify your case:

 Debtor 1                     JETHRO SHELDON THURSTON
                              First Name                    Middle Name                        Last Name

 Debtor 2                     JENNIFER LEIGH THURSTON
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                MIDDLE DISTRICT OF TENNESSEE

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          INTERNAL REVENUE SERVICE                               Last 4 digits of account number                          $8,900.00         $8,900.00                   $0.00
              Priority Creditor's Name
              CENTRALIZED INSOLVENCY                                 When was the debt incurred?
              OPERATIONS
              PO BOX 7346
              Philadelphia, PA 19101-7346
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        2017, 2018 & 2019 INCOME TAXES




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 25
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               Case 3:20-bk-00625                       Doc 1          Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                      Document      Page 21 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                          Case number (if known)

 2.2        United States Bankruptcy Court                           Last 4 digits of account number                            $310.00                $310.00                   $0.00
            Priority Creditor's Name
                                                                     When was the debt incurred?

            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes



 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

            ADVANCED DISAGNOSTIC
 4.1        IMAGING                                                    Last 4 digits of account number                                                                          $0.00
            Nonpriority Creditor's Name
            PO BOX 292367                                              When was the debt incurred?
            Nashville, TN 37229
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 25
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             Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                           Desc Main
                                                                      Document      Page 22 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.2      AES/PHEAA                                                  Last 4 digits of account number       757O                                                $314.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 10/07/14 Last Active
          Po Box 2461                                                When was the debt incurred?           3/23/15
          Harrisburg, PA 17105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


          AMERICAN MEDICAL RESPONSE
 4.3      OF TN                                                      Last 4 digits of account number                                                         $1,336.59
          Nonpriority Creditor's Name
          50 SOUTH MAIN STREET, STE 401                              When was the debt incurred?
          Akron, OH 44308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4      BIG PICTURE LOANS                                          Last 4 digits of account number                                                         $1,081.46
          Nonpriority Creditor's Name
          ATTN: CUSTOMER SUPPORT                                     When was the debt incurred?
          PO BOX 704
          Watersmeet, MI 49969
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 23 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.5      CASHNET USA                                                Last 4 digits of account number                                                         $1,393.74
          Nonpriority Creditor's Name
          175 WEST JACKSON                                           When was the debt incurred?
          SUITE 1000
          Chicago, IL 60604
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.6      Central Credit Services, LLC                               Last 4 digits of account number       1451                                                $506.00
          Nonpriority Creditor's Name
          9550 Regency Square Blvd                                   When was the debt incurred?           Opened 07/19
          Suite 500 A
          Jacksonville, FL 32225
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Solomon Emergency
              Yes                                                       Other. Specify   Physicians


 4.7      Chase Card Services                                        Last 4 digits of account number       8274                                                $291.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 11/03 Last Active
          Po Box 15298                                               When was the debt incurred?           5/05/15
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 24 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.8      Commonwealth Financial Systems                             Last 4 digits of account number       04N1                                              $1,142.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 12/19
          245 Main Street
          Dickson City, PA 18519
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Solomon Emergency
              Yes                                                       Other. Specify   Physicians


 4.9      CREDIT ONE BANK                                            Last 4 digits of account number                                                           $910.00
          Nonpriority Creditor's Name
          PO BOX 60500                                               When was the debt incurred?
          City of Industry, CA 91716-0500
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 0        Debt Recovery Solution                                     Last 4 digits of account number       9676                                                $324.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 9/11/19
          6800 Jericho Turnpike Suite 113e
          Syosset, NY 11791
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Solomon Emergency Physici




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 25 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.1
 1        Fingerhut                                                  Last 4 digits of account number       6789                                                $565.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 12/15 Last Active
          Po Box 1250                                                When was the debt incurred?           7/24/16
          Saint Cloud, MN 56395
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.1
 2        Fingerhut                                                  Last 4 digits of account number       4325                                                $536.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 04/16 Last Active
          Po Box 1250                                                When was the debt incurred?           1/04/17
          Saint Cloud, MN 56395
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.1
 3        FIRST ACCESS                                               Last 4 digits of account number                                                           $285.64
          Nonpriority Creditor's Name
          PO BOX 5220                                                When was the debt incurred?
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 6 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 26 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.1
 4        First Nataional Bank/Legacy                                Last 4 digits of account number       1433                                                $429.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 02/15 Last Active
          Po Box 5097                                                When was the debt incurred?           1/05/16
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 5        First PREMIER Bank                                         Last 4 digits of account number       4048                                                $860.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 01/16 Last Active
          Po Box 5524                                                When was the debt incurred?           2/01/16
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 6        First PREMIER Bank                                         Last 4 digits of account number       2890                                                $542.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 04/18 Last Active
          Po Box 5524                                                When was the debt incurred?           9/21/18
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 7 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 27 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.1
 7        FOX COLLECTION                                             Last 4 digits of account number                                                           $139.63
          Nonpriority Creditor's Name
          PO BOX 528                                                 When was the debt incurred?
          Goodlettsville, TN 37070-0528
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   ADVANCED SLEEP OF MIDDLE TN


 4.1
 8        Fox Collection Center                                      Last 4 digits of account number       8647                                                $139.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 05/19
          Po Box 528
          Goodlettsvile, TN 37070
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Advanced Sleep Of
              Yes                                                       Other. Specify   Middle Tn


 4.1      Great Lakes Higher Education
 9        Corporation                                                Last 4 digits of account number       7777                                              $1,994.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 10/18 Last Active
          Po Box 7860                                                When was the debt incurred?           2/27/19
          Madison, WI 53707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 8 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 28 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.2
 0        IC System, Inc                                             Last 4 digits of account number       5012                                                $143.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 11/19
          Po Box 64378
          Saint Paul, MN 55164
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Att Directv


 4.2
 1        KNIGHT & HOOPER PLLC                                       Last 4 digits of account number                                                         $2,659.99
          Nonpriority Creditor's Name
          701 MARKET ST SUITE 700                                    When was the debt incurred?
          PO BOX 11583
          Chattanooga, TN 37401-2583
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 2        LEE & LEE ATTORNEYS AT LAW                                 Last 4 digits of account number                                                         $3,667.00
          Nonpriority Creditor's Name
          109 E GAY ST                                               When was the debt incurred?
          Lebanon, TN 37087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   WILSON BANK & TRUST




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 9 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 29 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.2
 3        LVNV Funding/Resurgent Capital                             Last 4 digits of account number       0253                                                $606.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 11/18 Last Active
          Po Box 10497                                               When was the debt incurred?           5/31/19
          Greenville, SC 29603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Factoring Company Account Credit One
              Yes                                                       Other. Specify   Bank N.A.


 4.2
 4        MASSEYS                                                    Last 4 digits of account number                                                           $544.78
          Nonpriority Creditor's Name
          PO BOX 2822                                                When was the debt incurred?
          Monroe, WI 53566
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 5        Medicredit Inc.                                            Last 4 digits of account number       9176                                                $865.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                When was the debt incurred?           Opened 2/18/19
          Po Box 1629
          Maryland Heights, MO 63043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Summit Medical Center




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 10 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 30 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.2
 6        Merrick Bank/CardWorks                                     Last 4 digits of account number       8090                                                $842.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 11/15 Last Active
          Po Box 9201                                                When was the debt incurred?           1/05/16
          Old Bethpage, NY 11804
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.2
 7        Midnight Velvet/Swiss Colony                               Last 4 digits of account number       755O                                                $358.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 8/11/14 Last Active
          1112 Seventh Ave                                           When was the debt incurred?           3/23/15
          Monroe, WI 53566
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.2      MONROE CARELL JR. CHILDRENS
 8        HOSPITAL AT                                                Last 4 digits of account number                                                           $546.00
          Nonpriority Creditor's Name
          VANDERBILT UNIVERSITY                                      When was the debt incurred?
          DEPT 1171 PO BOX 121171
          Dallas, TX 75312
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 11 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 31 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.2
 9        MRS BPO LLC                                                Last 4 digits of account number                                                           $851.76
          Nonpriority Creditor's Name
          1930 OLNEY AVENUE                                          When was the debt incurred?
          Cherry Hill, NJ 08003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SECURITY CREDIT SERVICES


 4.3
 0        Nationwide Recovery                                        Last 4 digits of account number       7235                                                $805.00
          Nonpriority Creditor's Name
          501 Shelley Dr Ste 300                                     When was the debt incurred?           Opened 07/19
          Tyler, TX 75701
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Solomon Emergency
              Yes                                                       Other. Specify   Physicians


 4.3
 1        Navient                                                    Last 4 digits of account number       0113                                            $10,957.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 01/10 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 12 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 32 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.3
 2        Navient                                                    Last 4 digits of account number       0714                                            $10,601.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 07/10 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.3
 3        Navient                                                    Last 4 digits of account number       0120                                              $9,694.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 01/12 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.3
 4        Navient                                                    Last 4 digits of account number       0523                                              $8,817.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 05/13 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 13 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 33 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.3
 5        Navient                                                    Last 4 digits of account number       0120                                              $5,256.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 01/12 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.3
 6        Navient                                                    Last 4 digits of account number       0511                                              $5,092.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 05/11 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.3
 7        Navient                                                    Last 4 digits of account number       0713                                              $5,017.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 07/11 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 14 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 34 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.3
 8        Navient                                                    Last 4 digits of account number       0113                                              $4,487.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 01/10 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.3
 9        Navient                                                    Last 4 digits of account number       0714                                              $4,286.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 07/10 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.4
 0        Navient                                                    Last 4 digits of account number       0409                                              $4,100.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 04/15 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 15 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 35 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.4
 1        Navient                                                    Last 4 digits of account number       0523                                              $4,049.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 05/13 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.4
 2        Navient                                                    Last 4 digits of account number       0511                                              $2,755.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 05/11 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.4
 3        Navient                                                    Last 4 digits of account number       0810                                              $2,628.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 08/11 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 16 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 36 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.4
 4        Navient                                                    Last 4 digits of account number       0716                                                $998.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 07/12 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.4
 5        Navient                                                    Last 4 digits of account number       0416                                                $324.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 04/14 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.4
 6        Navient                                                    Last 4 digits of account number       0409                                                $113.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                                                                Opened 04/15 Last Active
          Po Box 9500                                                When was the debt incurred?           12/31/19
          Wilkes-Barr, PA 19773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 17 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 37 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.4
 7        Paragon Revenue Group                                      Last 4 digits of account number       2714                                              $2,612.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 10/19
          216 Le Phillip Ct Ne
          Concord, NC 28025
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Tennova Healthcare
              Yes                                                       Other. Specify   Lebanon


 4.4
 8        Paragon Revenue Group                                      Last 4 digits of account number       5054                                                $845.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 10/18
          216 Le Phillip Ct Ne
          Concord, NC 28025
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Tennova Healthcare
              Yes                                                       Other. Specify   Lebanon


 4.4
 9        Paragon Revenue Group                                      Last 4 digits of account number       4190                                                $200.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 04/18
          216 Le Phillip Ct Ne
          Concord, NC 28025
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Tennova Healthcare
              Yes                                                       Other. Specify   Lebanon



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 18 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 38 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.5      PHILLIPS & COHEN ASSOCIATES
 0        LTD                                                        Last 4 digits of account number                                                           $842.68
          Nonpriority Creditor's Name
          1002 JUSTISON ST                                           When was the debt incurred?
          Wilmington, DE 19801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MERRICK BANK


 4.5      PHOENIX FINANCIAL SERVICES
 1        LLC                                                        Last 4 digits of account number                                                           $566.07
          Nonpriority Creditor's Name
          PO BOX 361450                                              When was the debt incurred?
          Indianapolis, IN 46236-1450
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   PENDRICK CAPITAL PARTNERS


 4.5
 2        PIONEER CREDIT RECOVERY INC                                Last 4 digits of account number                                                         $2,001.90
          Nonpriority Creditor's Name
          26 EDWARD STREET                                           When was the debt incurred?
          Arcade, NY 14009
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 19 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 39 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.5
 3        RADIOLOGY ALLIANCE                                         Last 4 digits of account number                                                             $97.23
          Nonpriority Creditor's Name
          PO BOX 440166                                              When was the debt incurred?
          Nashville, TN 37244
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 4.5      RECEIVABLES PERFORMANCE
 4        MANAGEMENT LLC                                             Last 4 digits of account number                                                           $144.00
          Nonpriority Creditor's Name
          20816 44TH AVE W                                           When was the debt incurred?
          Lynnwood, WA 98036
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   DIRECTV


 4.5
 5        Security Credit Services                                   Last 4 digits of account number       1089                                                $851.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 07/17
          Po Box 1156
          Oxford, MS 38655
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Tempoe Llc




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 20 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 40 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.5
 6        STENGER & STENGER                                          Last 4 digits of account number                                                           $775.28
          Nonpriority Creditor's Name
          2618 EAST PARIS AVE SE                                     When was the debt incurred?
          Grand Rapids, MI 49546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   LVNV FUNDING


 4.5
 7        TENNOVA HEALTHCARE                                         Last 4 digits of account number                                                         $6,394.73
          Nonpriority Creditor's Name
          PO BOX 281384                                              When was the debt incurred?
          Atlanta, GA 30384
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5
 8        TENNOVA HEALTHCARE                                         Last 4 digits of account number                                                         $1,278.95
          Nonpriority Creditor's Name
          PO BOX 1280                                                When was the debt incurred?
          Oaks, PA 19456
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 21 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 41 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.5
 9        THE HILL FIRM PLLC                                         Last 4 digits of account number                                                         $5,800.00
          Nonpriority Creditor's Name
          PO BOX 150529                                              When was the debt incurred?
          Nashville, TN 37215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   HARPETH FINANCIAL


 4.6
 0        TN QUICK CASH                                              Last 4 digits of account number                                                         $4,649.61
          Nonpriority Creditor's Name
          408 S CUMBERLAND ST                                        When was the debt incurred?
          Lebanon, TN 37087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.6
 1        Total Visa/Bank of Missouri                                Last 4 digits of account number       9262                                                $445.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 06/19 Last Active
          Po Box 85710                                               When was the debt incurred?           9/27/19
          Sioux Falls, SD 57118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 22 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 42 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.6
 2        Usdoe/glelsi                                               Last 4 digits of account number       7581                                           $102,724.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 02/15 Last Active
          Po Box 7860                                                When was the debt incurred?           12/31/19
          Madison, WI 53717
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.6
 3        Vance & Huffman Llc                                        Last 4 digits of account number       1863                                                $639.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 04/19
          55 Monette Pkwy, Ste 100
          Smithfield, VA 23430
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Attorney Tempoe Llc


 4.6
 4        Wakefield & Associates                                     Last 4 digits of account number       5748                                              $1,484.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 06/19
          7005 Middlebrook Pike
          Knoxville, TN 37909
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney American Medical
              Yes                                                       Other. Specify   Response Of T




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 23 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                      Desc Main
                                                                     Document      Page 43 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                        Case number (if known)

 4.6
 5         Wakefield & Associates                                    Last 4 digits of account number       0844                                                       $808.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                          When was the debt incurred?           Opened 05/17
           7005 Middlebrook Pike
           Knoxville, TN 37909
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection Attorney Rutherford County
              Yes                                                       Other. Specify   Emergency Me


 4.6
 6         WORLD FINANCE                                             Last 4 digits of account number                                                                  $873.00
           Nonpriority Creditor's Name
           PO BOX 6429                                               When was the debt incurred?
           Greenville, SC 29606
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Great Lakes Higher Education                                  Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Corporation                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 c/o The United States Attorney’s
 Office
 110 9th Ave S # A961
 Nashville, TN 37203
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Navient                                                       Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o The United States Attorney’s                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Office
 110 9th Ave S # A961
 Nashville, TN 37203
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 24 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                        Desc Main
                                                                     Document      Page 44 of 75
 Debtor 1 JETHRO SHELDON THURSTON
 Debtor 2 JENNIFER LEIGH THURSTON                                                                       Case number (if known)

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                     0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                        6b.      $                 9,210.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                 9,210.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $              183,892.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $                53,991.04

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $              237,883.04




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 25 of 25
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                             Desc Main
                                                                     Document      Page 45 of 75
 Fill in this information to identify your case:

 Debtor 1                  JETHRO SHELDON THURSTON
                           First Name                         Middle Name            Last Name

 Debtor 2                  JENNIFER LEIGH THURSTON
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               MIDDLE DISTRICT OF TENNESSEE

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       BUDDYS HOME FURNISHINGS                                                    REJECT RENT TO OWN CONTRACT FOR BED AND
               250 SEGLER DRIVE                                                           TELEVISION
               Oak Grove, KY 42262

     2.2       J & L SALES AND RENTALS LLC                                                36 MONTH LEASE PURCHASE FOR SHED WITH 24
               PO BOX 146                                                                 MONTHS REMAINING AT $170.00 PER MONTH FOR A
               Paris, TN 38242                                                            TOTAL OF $3,950.00. DEBTORS TO ASSUME AND PAY
                                                                                          THROUGH PLAN.

     2.3       VERIZON WIRELESS                                                           24 MONTH CELL PHONE LEASE WITH 20 MONTHS
               PO BOX 25505                                                               REMAINING AT $677.00 PER MONTH. DEBTORS TO
               Lehigh Valley, PA 18002-5505                                               ASSUME AND PAY DIRECTLY.




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                Case 3:20-bk-00625                      Doc 1          Filed 01/31/20 Entered 01/31/20 08:03:48                         Desc Main
                                                                      Document      Page 46 of 75
 Fill in this information to identify your case:

 Debtor 1                   JETHRO SHELDON THURSTON
                            First Name                           Middle Name         Last Name

 Debtor 2                   JENNIFER LEIGH THURSTON
 (Spouse if, filing)        First Name                           Middle Name         Last Name


 United States Bankruptcy Court for the:                 MIDDLE DISTRICT OF TENNESSEE

 Case number
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:


    3.1         THOMAS THURSTON                                                                        Schedule D, line   2.2
                5187 MURFREESBORO ROAD                                                                 Schedule E/F, line
                Lebanon, TN 37090
                                                                                                       Schedule G
                                                                                                     BRIDGESCREST ACCEPTANCE CORP




Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 1
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               Case 3:20-bk-00625                         Doc 1          Filed 01/31/20 Entered 01/31/20 08:03:48              Desc Main
                                                                        Document      Page 47 of 75
Fill in this information to identify your case:

Debtor 1                      JETHRO SHELDON THURSTON

Debtor 2                      JENNIFER LEIGH THURSTON
(Spouse, if filing)

United States Bankruptcy Court for the:       MIDDLE DISTRICT OF TENNESSEE

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                   Employed                                 Employed
       attach a separate page with           Employment status
       information about additional                                     Not employed                             Not employed
       employers.
                                             Occupation            IT                                         TEMP WORK
       Include part-time, seasonal, or
       self-employed work.                                         CRACKER BARREL OLD
                                             Employer's name       COUNTRY STORE                              INTEGRITY WORKFORCE
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                   PO BOX 787                                 500 DUKE DRIVE
                                                                   Lebanon, TN 37088                          Lebanon, TN 37090

                                             How long employed there?         SINCE 2012                               SINCE SEPTEMBER 30,
                                                                                                                       2019

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        7,529.68      $         2,600.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      7,529.68            $   2,600.00




Official Form 106I                                                  Schedule I: Your Income
              Case 3:20-bk-00625                  Doc 1    Filed 01/31/20     Entered 01/31/20 08:03:48                          Desc Main page 1
                                                          Document      Page 48 of 75
Debtor 1   JETHRO SHELDON THURSTON
Debtor 2   JENNIFER LEIGH THURSTON                                                               Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      7,529.68       $         2,600.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        982.22       $           390.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $             0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $        225.50       $             0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $             0.00
     5e.    Insurance                                                                     5e.        $        586.40       $             0.00
     5f.    Domestic support obligations                                                  5f.        $          0.00       $             0.00
     5g.    Union dues                                                                    5g.        $          0.00       $             0.00
     5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $             0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,794.12       $           390.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          5,735.56       $        2,210.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              5,735.56 + $       2,210.00 = $            7,945.56
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $           7,945.56
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: THE JOINT DEBTOR HAS CHANGED EMPLOYMENT IN THE LAST 60 MONTHS. INCOME
                             REFLECTED ON THIS SCHEDULE IS THE INCOME SHE CONTEMPLATES EARNING.




Official Form 106I                                               Schedule I: Your Income
           Case 3:20-bk-00625               Doc 1       Filed 01/31/20     Entered 01/31/20 08:03:48                            Desc Main page 2
                                                       Document      Page 49 of 75
Fill in this information to identify your case:

Debtor 1                 JETHRO SHELDON THURSTON                                                           Check if this is:
                                                                                                               An amended filing
Debtor 2                 JENNIFER LEIGH THURSTON                                                               A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF TENNESSEE                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            DAUGHTER                             14                   Yes
                                                                                                                                             No
                                                                                   SON                                  16                   Yes
                                                                                                                                             No
                                                                                   SON                                  16                   Yes
                                                                                                                                             No
                                                                                   SON                                  17                   Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,000.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                 0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
         Case 3:20-bk-00625                      Doc 1      Filed 01/31/20 Entered 01/31/20 08:03:48                                  Desc Main
                                                           Document      Page 50 of 75
Debtor 1     JETHRO SHELDON THURSTON
Debtor 2     JENNIFER LEIGH THURSTON                                                                   Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                400.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                112.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                675.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,400.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               300.00
10.   Personal care products and services                                                    10. $                                                300.00
11.   Medical and dental expenses                                                            11. $                                                330.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 500.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 200.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  357.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    PET EXPENSE                                                         21. +$                                                 30.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,604.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,604.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               7,945.56
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,604.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              2,341.56

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
        Case 3:20-bk-00625                     Doc 1        Filed 01/31/20 Entered 01/31/20 08:03:48                                       Desc Main
                                                           Document      Page 51 of 75
 Fill in this information to identify your case:

 Debtor 1                    JETHRO SHELDON THURSTON
                             First Name                     Middle Name             Last Name

 Debtor 2                    JENNIFER LEIGH THURSTON
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF TENNESSEE

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ JETHRO SHELDON THURSTON                                               X   /s/ JENNIFER LEIGH THURSTON
              JETHRO SHELDON THURSTON                                                   JENNIFER LEIGH THURSTON
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       January 31, 2020                                               Date    January 31, 2020




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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               Case 3:20-bk-00625                     Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                        Desc Main
                                                                     Document      Page 52 of 75
 Fill in this information to identify your case:

 Debtor 1                  JETHRO SHELDON THURSTON
                           First Name                       Middle Name                  Last Name

 Debtor 2                  JENNIFER LEIGH THURSTON
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF TENNESSEE

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                         $3,764.84           Wages, commissions,                 $2,500.00
 the date you filed for bankruptcy:
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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               Case 3:20-bk-00625                     Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                               Desc Main
                                                                     Document      Page 53 of 75
 Debtor 1      JETHRO SHELDON THURSTON
 Debtor 2      JENNIFER LEIGH THURSTON                                                                     Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income                  Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.              (before deductions
                                                                                    exclusions)                                                       and exclusions)

 For last calendar year:                              Wages, commissions,                              $0.00         Wages, commissions,                            $0.00
 (January 1 to December 31, 2019 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                              $0.00         Wages, commissions,                            $0.00
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income                  Gross income
                                                   Describe below.                  each source                    Describe below.                    (before deductions
                                                                                    (before deductions and                                            and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       BRIDGECREST                                               2 MONTHLY                        $880.00            $6,369.00             Mortgage
       7300 E HAMPTON AVENUE, STE                                PAYMENTS                                                                  Car
       101
                                                                                                                                           Credit Card
       Mesa, AZ 85209
                                                                                                                                           Loan Repayment
                                                                                                                                           Suppliers or vendors
                                                                                                                                           Other




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 2
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                  Desc Main
                                                                     Document      Page 54 of 75
 Debtor 1      JETHRO SHELDON THURSTON
 Debtor 2      JENNIFER LEIGH THURSTON                                                                     Case number (if known)


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       BRIDGESCREST ACCEPTANCE                                   2 MONTHLY                        $800.00          $14,302.00         Mortgage
       CORP                                                      PAYMENT                                                              Car
       7300 E HAMPTON AVENUE, STE
                                                                                                                                      Credit Card
       101
                                                                                                                                      Loan Repayment
       Mesa, AZ 85209
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       Unknown Plaintiff vs Unknown                              BankruptcyChapt            US BKPT CT TN NASHVILL                     Pending
       Defendant                                                 er7                                                                   On appeal
       1402127MFH                                                                                                                      Concluded

                                                                                                                                    Discharged - 0.00

       JETHRO THURSTON, JENNIFER                                 Bankruptcy                 TENNESSEE MIDDLE -                         Pending
       THURSTON vs Unknown                                       Chapter 7                  NASHVILLE                                  On appeal
       Defendant                                                                                                                       Concluded
       1402127
                                                                                                                                    Discharged - 0.00

       JETHRO THURSTON, JENNIFER                                 Bankruptcy                 TENNESSEE MIDDLE -                         Pending
       THURSTON vs Unknown                                       Chapter 7                  NASHVILLE                                  On appeal
       Defendant                                                                                                                       Concluded
       1402127
                                                                                                                                    Discharged - 0.00




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                              Desc Main
                                                                     Document      Page 55 of 75
 Debtor 1      JETHRO SHELDON THURSTON
 Debtor 2      JENNIFER LEIGH THURSTON                                                                     Case number (if known)


       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Wilson Bank And Trust vs JETHRO                           SMALL CLAIMS               WILSON GENERAL                              Pending
       THURSTON, JENNIFER                                        JUDGMENT                   SESSIONS COURT -                            On appeal
       THURSTON                                                                             LEBANON                                     Concluded
       2019CV931
                                                                                                                                     - 4,582.00

       Tennessee Quick Cash Inc vs                               SMALL CLAIMS               WILSON CO GENERAL                           Pending
       JESSIE THURSTON                                           JUDGMENT                   SESSION                                     On appeal
       2018CV2215                                                                                                                       Concluded

                                                                                                                                     - 5,203.00

       Unknown Plaintiff vs JENNIFER                             SMALL CLAIMS               WILSON GENERAL                              Pending
       THURSTON, JETHRO THURSTON                                 JUDGMENT                   SESSIONS COURT -                            On appeal
       2019CV931                                                                            LEBANON                                     Concluded

                                                                                                                                     - 4,582.00

       Unknown Plaintiff vs JENNIFER                             SMALL CLAIMS               WILSON CO GENERAL                           Pending
       THURSTON                                                  JUDGMENT                   SESSION                                     On appeal
       2013CV497                                                                                                                        Concluded

                                                                                                                                     - 7,424.00


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                              Desc Main
                                                                     Document      Page 56 of 75
 Debtor 1      JETHRO SHELDON THURSTON
 Debtor 2      JENNIFER LEIGH THURSTON                                                                     Case number (if known)


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or        Date transfer was
       Address                                                        property transferred                      payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                               Desc Main
                                                                     Document      Page 57 of 75
 Debtor 1      JETHRO SHELDON THURSTON
 Debtor 2      JENNIFER LEIGH THURSTON                                                                           Case number (if known)


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of              Type of account or           Date account was           Last balance
       Address (Number, Street, City, State and ZIP              account number                instrument                   closed, sold,          before closing or
       Code)                                                                                                                moved, or                       transfer
                                                                                                                            transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?                 Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                                have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access                 Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                        have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you       Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 6
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                  Desc Main
                                                                     Document      Page 58 of 75
 Debtor 1      JETHRO SHELDON THURSTON
 Debtor 2      JENNIFER LEIGH THURSTON                                                                           Case number (if known)


25. Have you notified any governmental unit of any release of hazardous material?

             No
             Yes. Fill in the details.
        Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
        Case Title                                                    Court or agency                            Nature of the case                   Status of the
        Case Number                                                   Name                                                                            case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business                  Employer Identification number
        Address                                                                                                       Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                      Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ JETHRO SHELDON THURSTON                                              /s/ JENNIFER LEIGH THURSTON
 JETHRO SHELDON THURSTON                                                  JENNIFER LEIGH THURSTON
 Signature of Debtor 1                                                    Signature of Debtor 2

 Date      January 31, 2020                                               Date       January 31, 2020

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 7
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             Case 3:20-bk-00625                       Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                                  Desc Main
                                                                     Document      Page 59 of 75
 Debtor 1      JETHRO SHELDON THURSTON
 Debtor 2      JENNIFER LEIGH THURSTON                                                                     Case number (if known)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 8
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                      Desc Main
                                                                     Document      Page 60 of 75
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48             Desc Main
                                                                     Document      Page 61 of 75
        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                 Desc Main
                                                                     Document      Page 62 of 75
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                Desc Main
                                                                     Document      Page 63 of 75
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                Desc Main
                                                                     Document      Page 64 of 75
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Middle District of Tennessee
             JETHRO SHELDON THURSTON
 In re       JENNIFER LEIGH THURSTON                                                                          Case No.
                                                                                  Debtor(s)                   Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  4,250.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                  4,250.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 PLEASE SEE THE ATTACHED RIGHTS AND RESPONSIBILITIES OF THE CHAPTER 13 DEBTOR AND ATTORNEY

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               PLEASE SEE THE ATTACHED RIGHTS AND RESPONSIBILITIES OF THE CHAPTER 13 DEBTOR AND ATTORNEY
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 31, 2020                                                             /s/ SCOTT D. WILSON
     Date                                                                         SCOTT D. WILSON
                                                                                  Signature of Attorney
                                                                                  Wilson Legal Services
                                                                                  405 1/2 A 31st Ave N
                                                                                  Nashville, TN 37209
                                                                                  615-297-2400 Fax: 615-634-0241
                                                                                  wilsonlgl@hotmail.com
                                                                                  Name of law firm




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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48                    Desc Main
                                                                     Document      Page 65 of 75
Case 3:20-bk-00625   Doc 1    Filed 01/31/20 Entered 01/31/20 08:03:48   Desc Main
                             Document      Page 66 of 75
Case 3:20-bk-00625   Doc 1    Filed 01/31/20 Entered 01/31/20 08:03:48   Desc Main
                             Document      Page 67 of 75
Case 3:20-bk-00625   Doc 1    Filed 01/31/20 Entered 01/31/20 08:03:48   Desc Main
                             Document      Page 68 of 75
Case 3:20-bk-00625   Doc 1    Filed 01/31/20 Entered 01/31/20 08:03:48   Desc Main
                             Document      Page 69 of 75
                                                               United States Bankruptcy Court
                                                                      Middle District of Tennessee
            JETHRO SHELDON THURSTON
 In re      JENNIFER LEIGH THURSTON                                                                   Case No.
                                                                                   Debtor(s)          Chapter    13




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: January 31, 2020                                                 /s/ JETHRO SHELDON THURSTON
                                                                        JETHRO SHELDON THURSTON
                                                                        Signature of Debtor

 Date: January 31, 2020                                                 /s/ JENNIFER LEIGH THURSTON
                                                                        JENNIFER LEIGH THURSTON
                                                                        Signature of Debtor




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            Case 3:20-bk-00625                        Doc 1           Filed 01/31/20 Entered 01/31/20 08:03:48        Desc Main
                                                                     Document      Page 70 of 75
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                         JETHRO SHELDON THURSTON
                         5187 MURFREESBORO ROAD
                         LEBANON TN 37090

                         JENNIFER LEIGH THURSTON
                         5187 MURFREESBORO ROAD
                         LEBANON TN 37090

                         SCOTT D. WILSON
                         WILSON LEGAL SERVICES
                         405 1/2 A 31ST AVE N
                         NASHVILLE, TN 37209

                         ADVANCED DISAGNOSTIC IMAGING
                         PO BOX 292367
                         NASHVILLE TN 37229

                         AES/PHEAA
                         ATTN: BANKRUPTCY
                         PO BOX 2461
                         HARRISBURG PA 17105

                         AMERICAN MEDICAL RESPONSE OF TN
                         50 SOUTH MAIN STREET, STE 401
                         AKRON OH 44308

                         BIG PICTURE LOANS
                         ATTN: CUSTOMER SUPPORT
                         PO BOX 704
                         WATERSMEET MI 49969

                         BRIDGECREST
                         7300 E HAMPTON AVENUE, STE 101
                         MESA AZ 85209

                         BRIDGESCREST ACCEPTANCE CORP
                         7300 E HAMPTON AVENUE, STE 101
                         MESA AZ 85209

                         BUDDYS HOME FURNISHINGS
                         250 SEGLER DRIVE
                         OAK GROVE KY 42262

                         CASHNET USA
                         175 WEST JACKSON
                         SUITE 1000
                         CHICAGO IL 60604

                         CENTRAL CREDIT SERVICES, LLC
                         9550 REGENCY SQUARE BLVD
                         SUITE 500 A
                         JACKSONVILLE FL 32225




    Case 3:20-bk-00625   Doc 1    Filed 01/31/20 Entered 01/31/20 08:03:48   Desc Main
                                 Document      Page 71 of 75
                     CHASE CARD SERVICES
                     ATTN: BANKRUPTCY
                     PO BOX 15298
                     WILMINGTON DE 19850

                     COMMONWEALTH FINANCIAL SYSTEMS
                     ATTN: BANKRUPTCY
                     245 MAIN STREET
                     DICKSON CITY PA 18519

                     CREDIT ONE BANK
                     PO BOX 60500
                     CITY OF INDUSTRY CA 91716-0500

                     DEBT RECOVERY SOLUTION
                     ATTN: BANKRUPTCY
                     6800 JERICHO TURNPIKE SUITE 113E
                     SYOSSET NY 11791

                     FINGERHUT
                     ATTN: BANKRUPTCY
                     PO BOX 1250
                     SAINT CLOUD MN 56395

                     FIRST ACCESS
                     PO BOX 5220
                     SIOUX FALLS SD 57117

                     FIRST NATAIONAL BANK/LEGACY
                     ATTN: BANKRUPTCY
                     PO BOX 5097
                     SIOUX FALLS SD 57117

                     FIRST PREMIER BANK
                     ATTN: BANKRUPTCY
                     PO BOX 5524
                     SIOUX FALLS SD 57117

                     FOX COLLECTION
                     PO BOX 528
                     GOODLETTSVILLE TN 37070-0528

                     FOX COLLECTION CENTER
                     ATTN: BANKRUPTCY
                     PO BOX 528
                     GOODLETTSVILE TN 37070

                     GREAT LAKES HIGHER EDUCATION CORPORATION
                     ATTN: BANKRUPTCY
                     PO BOX 7860
                     MADISON WI 53707




Case 3:20-bk-00625   Doc 1    Filed 01/31/20 Entered 01/31/20 08:03:48   Desc Main
                             Document      Page 72 of 75
                     GREAT LAKES HIGHER EDUCATION CORPORATION
                     C/O THE UNITED STATES ATTORNEY’S OFFICE
                     110 9TH AVE S # A961
                     NASHVILLE TN 37203

                     IC SYSTEM, INC
                     ATTN: BANKRUPTCY
                     PO BOX 64378
                     SAINT PAUL MN 55164

                     INTERNAL REVENUE SERVICE
                     CENTRALIZED INSOLVENCY OPERATIONS
                     PO BOX 7346
                     PHILADELPHIA PA 19101-7346

                     J & L SALES AND RENTALS LLC
                     PO BOX 146
                     PARIS TN 38242

                     KNIGHT & HOOPER PLLC
                     701 MARKET ST SUITE 700
                     PO BOX 11583
                     CHATTANOOGA TN 37401-2583

                     LEE & LEE ATTORNEYS AT LAW
                     109 E GAY ST
                     LEBANON TN 37087

                     LVNV FUNDING/RESURGENT CAPITAL
                     ATTN: BANKRUPTCY
                     PO BOX 10497
                     GREENVILLE SC 29603

                     MASSEYS
                     PO BOX 2822
                     MONROE WI 53566

                     MEDICREDIT INC.
                     ATTN: BANKRUPTCY DEPARTMENT
                     PO BOX 1629
                     MARYLAND HEIGHTS MO 63043

                     MERRICK BANK/CARDWORKS
                     ATTN: BANKRUPTCY
                     PO BOX 9201
                     OLD BETHPAGE NY 11804

                     MIDNIGHT VELVET/SWISS COLONY
                     ATTN: BANKRUPTCY
                     1112 SEVENTH AVE
                     MONROE WI 53566




Case 3:20-bk-00625   Doc 1    Filed 01/31/20 Entered 01/31/20 08:03:48   Desc Main
                             Document      Page 73 of 75
                     MONROE CARELL JR. CHILDRENS HOSPITAL AT
                     VANDERBILT UNIVERSITY
                     DEPT 1171 PO BOX 121171
                     DALLAS TX 75312

                     MRS BPO LLC
                     1930 OLNEY AVENUE
                     CHERRY HILL NJ 08003

                     NATIONWIDE RECOVERY
                     501 SHELLEY DR STE 300
                     TYLER TX 75701

                     NAVIENT
                     ATTN: CLAIMS DEPT
                     PO BOX 9500
                     WILKES-BARR PA 19773

                     NAVIENT
                     C/O THE UNITED STATES ATTORNEY’S OFFICE
                     110 9TH AVE S # A961
                     NASHVILLE TN 37203

                     PARAGON REVENUE GROUP
                     ATTN: BANKRUPTCY
                     216 LE PHILLIP CT NE
                     CONCORD NC 28025

                     PHILLIPS & COHEN ASSOCIATES LTD
                     1002 JUSTISON ST
                     WILMINGTON DE 19801

                     PHOENIX FINANCIAL SERVICES LLC
                     PO BOX 361450
                     INDIANAPOLIS IN 46236-1450

                     PIONEER CREDIT RECOVERY INC
                     26 EDWARD STREET
                     ARCADE NY 14009

                     RADIOLOGY ALLIANCE
                     PO BOX 440166
                     NASHVILLE TN 37244

                     RECEIVABLES PERFORMANCE MANAGEMENT LLC
                     20816 44TH AVE W
                     LYNNWOOD WA 98036

                     SECURITY CREDIT SERVICES
                     ATTN: BANKRUPTCY
                     PO BOX 1156
                     OXFORD MS 38655




Case 3:20-bk-00625   Doc 1    Filed 01/31/20 Entered 01/31/20 08:03:48   Desc Main
                             Document      Page 74 of 75
                     STENGER & STENGER
                     2618 EAST PARIS AVE SE
                     GRAND RAPIDS MI 49546

                     TENNOVA HEALTHCARE
                     PO BOX 281384
                     ATLANTA GA 30384

                     TENNOVA HEALTHCARE
                     PO BOX 1280
                     OAKS PA 19456

                     THE HILL FIRM PLLC
                     PO BOX 150529
                     NASHVILLE TN 37215

                     THOMAS THURSTON
                     5187 MURFREESBORO ROAD
                     LEBANON TN 37090

                     TN QUICK CASH
                     408 S CUMBERLAND ST
                     LEBANON TN 37087

                     TOTAL VISA/BANK OF MISSOURI
                     ATTN: BANKRUPTCY
                     PO BOX 85710
                     SIOUX FALLS SD 57118

                     UNITED STATES BANKRUPTCY COURT


                     USDOE/GLELSI
                     ATTN: BANKRUPTCY
                     PO BOX 7860
                     MADISON WI 53717

                     VANCE & HUFFMAN LLC
                     ATTN: BANKRUPTCY
                     55 MONETTE PKWY, STE 100
                     SMITHFIELD VA 23430

                     VERIZON WIRELESS
                     PO BOX 25505
                     LEHIGH VALLEY PA 18002-5505

                     WAKEFIELD & ASSOCIATES
                     ATTN: BANKRUPTCY
                     7005 MIDDLEBROOK PIKE
                     KNOXVILLE TN 37909

                     WORLD FINANCE
                     PO BOX 6429
                     GREENVILLE SC 29606


Case 3:20-bk-00625   Doc 1    Filed 01/31/20 Entered 01/31/20 08:03:48   Desc Main
                             Document      Page 75 of 75
